                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      WINCHESTER


  KRISTOPHER R. MAJORS and wife,              )
  CARIE MAJORS,                               )
                                              )
                Plaintiffs,                   )
                                              )
  v.                                          )      No. 4:12-CV-00058
                                              )      District Judge Harry S. Mattice, Jr.
  STATE AUTO PROPERTY &                       )      Magistrate Judge William B. Carter
  CASUALTY COMPANY,                           )
                                              )
                Defendant,                    )
                                              )
  and                                         )
                                              )
  CITIMORTGAGE, INC.,                         )
                                              )
                Defendant by Amendment.       )



                                    AMENDED COMPLAINT

         1.     The plaintiffs Kristopher R. Majors and wife Carie Majors are the owners of

  certain real property located at 2032 Mansford Road, Winchester, Franklin County, Tennessee,

  37398, deeded to the plaintiffs by deed of record in Deed Book 298, Page 387, Register’s Office

  of Franklin County, Tennessee, to which reference is herein made for more particulars.

         2.     The defendant State Auto Property & Casualty Company (“State Auto”) is a duly

  organized insurance company doing business in the State of Tennessee.

         3.     The defendant CitiMortgage, Inc., is a financial institution with its offices and

  Insurance Claim Center at Post Office Box 8855, Springfield, Ohio, 45501-8855.

         4.     On or about February 24, 2011, the plaintiffs suffered a fire loss at their home

  located at the aforesaid 2032 Mansford Road, Winchester, Tennessee. The home was severely




Case 4:12-cv-00058-HSM-WBC Document 14 Filed 02/26/13 Page 1 of 4 PageID #: 119
  damaged as a result of the fire together with water damage from the fire department during the

  extinguishing of the fire. The plaintiffs also suffered the loss of their personal property in the

  residence.

         5.      At the time of the fire loss the plaintiffs were insured with the defendant State

  Auto under Policy Number HT 0035719. The plaintiffs have made due demand upon the

  defendant to pay the damage to the improvements located on the real property referenced above;

  but the defendant, wrongfully and in bad faith, has refused to properly compensate the plaintiffs

  for the amount of the loss and damage to the residence referenced above. As a result of the

  dilatory tactics of the defendant State Auto, the plaintiffs were compelled to retain the services of

  an adjusting company known as First Call, Inc., located at 608 West Iris Drive, Nashville,

  Tennessee, 37204, to assist them in handling their fire loss claim. With the assistance of First

  Call, Inc. the plaintiffs were able to eventually settle the personal property claims, but the

  defendant State Auto wrongfully and in bad faith continues to stonewall with regard to the

  damage to the residence itself.

         6.      The plaintiffs have obtained repair estimates for the dwelling itself in the amount

  of $91,489.71. This excludes repair to the roof, electrical wiring, and the air conditioning and

  heating system. The plaintiffs would show at the trial of this cause that the defendant State Auto

  has wrongfully dealt in bad faith with the plaintiffs with regard to a fire loss that is now well

  over one year old. The plaintiffs allege that they would be entitled to recover the bad faith

  penalty as provided under Tenn. Code Ann. §56-7-105, together with the damages as

  hereinabove referenced.

         7.      The plaintiffs would further show unto the court as further evidence of the

  defendant’s bad faith that the defendant State Auto has cut off the plaintiffs’ additional living



                                                   2

Case 4:12-cv-00058-HSM-WBC Document 14 Filed 02/26/13 Page 2 of 4 PageID #: 120
  expenses, the defendant State Auto knowing full well that the plaintiffs can no longer pay rental

  expenses on a place for them to live and their minor child, and they continue to make house

  payments on a house that they cannot use.

          8.      The plaintiffs would show unto the court that the defendant CitiMortgage, Inc. is

  the lien holder on the property on the property in question, and the plaintiffs should be entitled to

  relief from the payment of the mortgage and that the defendant State Auto satisfy the obligation

  of the defendant CitiMortgage, Inc. and that the defendant CitiMortgage, Inc. assert its claims

  against the defendant State Auto or be barred from recovery against the plaintiffs.

          WHEREFORE, the plaintiffs sues the defendant State Auto for damages for breach of

  the insurance contract in the amount of $91,489.71 for general repair to the residence, together

  with an additional $12,000 for estimated roof, electrical and heating and air repair and/or

  replacement, together with punitive damages for bad faith as provided under Tenn. Code Ann.

  §56-7-105, together with the plaintiffs’ reasonable attorney fees, and the plaintiffs demand a jury

  to try the issues when joined; and the plaintiffs further pray for relief from the payment of the

  mortgage of the defendant CitiMortgage, Inc. and that the defendant CitiMortgage, Inc. be

  obligated to assert its claim against the defendant State Auto or be barred from recovery against

  the plaintiffs, and that in this regard be granted general relief.


                                                          Respectfully submitted,

                                                          SWAFFORD, PETERS, PRIEST & HALL

                                                          By:     /s/ Robert S. Peters
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                                                                  Majors and Carie Majors

                                                     3

Case 4:12-cv-00058-HSM-WBC Document 14 Filed 02/26/13 Page 3 of 4 PageID #: 121
                                      CERTIFICATE OF SERVICE

         I, Robert S. Peters, certify that on the 26th day of February, 2013, a copy of the foregoing

  Amended Complaint was filed electronically. Notice of this filing will be sent by operation of

  the court’s electronic filing system to all parties indicated on the electronic filing receipt. All

  other parties will be served by regular U.S. Mail. Parties may access this filing through the

  court’s electronic filing system.

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                                                       By:    /s/ Robert S. Peters




                                                  4

Case 4:12-cv-00058-HSM-WBC Document 14 Filed 02/26/13 Page 4 of 4 PageID #: 122
